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 3
                               UNITED STATES DISTRICT COURT
 4
                                       DISTRICT OF NEVADA
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 6   SCOTT BEHRENDS, et al.,
                                                          Case No.: 2:20-cv-00571-GMN-NJK
 7          Plaintiffs,
                                                                          Order
 8   v.
                                                                  (Docket Nos. 15, 16)
 9   JAKE ALEXANDER TAGGART, et al.,
10          Defendants.
11         Plaintiffs filed notices of deposition on the docket. Docket Nos. 15, 16. Discovery-related
12 documents must be served on opposing counsel, not filed on the docket, unless ordered by the
13 Court. See Local Rule 26-8; see also Fed. R. Civ. P. 5(d)(1). No such order has been entered in
14 this case. Accordingly, the Court STRIKES the above-referenced documents, and instructs the
15 parties to refrain from filing discovery documents on the docket in the future absent a Court order
16 that they do so.
17         IT IS SO ORDERED.
18         Dated: July 9, 2020.
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20                                             ___________________________________
                                               NANCY J. KOPPE
21                                             UNITED STATES MAGISTRATE JUDGE
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